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                   UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF WEST VIRGINIA
Cheryl Dean Riley          OFFICE OF THE CLERK OF COURT               Michelle Widmer-Eby
Clerk of Court                  POST OFFICE BOX 471                     Chief Deputy Clerk
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                             September 29, 2021




Via CM/ECF
Nationwide Property & Casualty Insurance Company
c/o Jennifer L Miller
Law Office of Asad U. Khan
Nationwide Trial Division
BB&T Square
300 Summers Street
Suite 1460
Charleston, WV 25301

Via U.S. Mail
Donald Rowe
249 Boise Lane
Inwood, WV 25428

        In Re: Nationwide Mutual Insurance Company v. Rowe
               Civil Action No. 3:19-cv-61

Dear Nationwide Mutual Insurance Company and Mr. Rowe,

      I have been contacted by Chief Judge, Gina M. Groh, who presided over the above-
mentioned case. Judge Groh informed me that it has been brought to her attention that
while she presided over the case, her husband owned stock in Nationwide. Her
husband’s ownership of stock neither affected nor impacted her decisions in this case,
which was terminated upon entry of a Notice of Voluntary Dismissal with no orders

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issued by Judge Groh. However, her husband’s stock ownership would have required
recusal under the Code of Conduct for United States Judges, and thus, Judge Groh
directed that I notify the parties of the conflict.

       Advisory Opinion 71, from the Judicial Conference Codes of Conduct
       Committee, provides the following guidance for addressing
       disqualification that is not discovered until after a judge has participated
       in a case:

               [A]judge should disclose to the parties the facts bearing on
       disqualification as soon as those facts are learned, even though that may
       occur after entry of the decision. The parties may then determine what
       relief they may seek and a court (without the disqualified judge) will
       decide the legal consequence, if any, arising from the participation of
       the disqualified judge in the entered decision.

       Although Advisory Opinion 71 contemplated disqualification after a Court of
Appeals oral argument, the Committee explained “[s]imilar considerations would apply
when a judgment was entered in a district court by a judge and it is later learned that the
judge was disqualified.” With Advisory Opinion 71 in mind, you are invited to respond
to Judge Groh’s disclosure of a conflict in this case. Should you wish to respond, please
submit your response in writing by filing it on the docket of this case on or before October
13, 2021. Any response will be considered by another judge of this court without the
participation of Judge Groh.

                             Sincerely,



                             Cheryl Dean Riley,
                             Clerk of Court




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